                                              02D09-2209-CT-000453                                   Filed: 9/9/2022 4:59 PM
                                                                                                                        Clerk
    EEOC FormUSDC
             5 (11109) IN/ND case 1:22-cv-00331-HAB-SLC
                                                 Allen Superiordocument
                                                                Court 9     6-1 filed 09/09/22 page 1 of  9 County, Indiana
                                                                                                      Allen
                                                                                                                         DW
                      CHARGE OF DISCRIMINATION                          Charge Preéented To:         Charge
                                                                                                                                        answer
             This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                    Statement and other information before completing this form.                         D    FEPA


                                                    INDIANA CIVIL RIGHTS COMMISSION
                                                                                                         E zeoc                          470-2021-03646
                                                                                                                                                      and EEOC
                                                                       State or local Agency, if any
    Name (indicate Mr., M5,, Mrs.)                                                                                      Home Phone                  Year Of Birth
     DION BOYD                                                                                                  (260) 418-8576                        1979
    Street Address                                                             City. State and ZIP Code
    4927 SALEM LANE, FT WAYNEJN 46806

    Named is the Employer, Labor Organization. Employment Agency, Apprenticeship Committee, or State or Local
                                                                                                              Government Agency
    That I Believe Discriminated Against Me or Others. (/fmore than two, list under PARTICULARS below.)
    Name                                                                                                      No. Employees, Members              Phone No.
    IVY TECH COMMUNITY COLLEGE                                                                                      Unknown
    Street Address                                                            City. State and ZIP Code
    3800 NORTH ANTHONY BLVD, FORT WAYNE, IN 46805

    Name                                                                                                      No.   Employees Members             Phone No.


    Street Address                                                            City, State and ZIP Code




    DISCRIMINATION BASED ON (Check appropriate bax(es}.)                                                                DATEISI DISCRIMINATION TOOK PLACE
                                                                                                                              Earliest

                     Q                                        I:
                                                                                                                                                   Latest
     E]       RACE             COLOR
                                            El     SEX               RELIGION
                                                                                   El         NATIONAL ORIGIN            05-12-292 1              09.27.2921
                  RETALIATION

                   '3
                                            AGE           DISABILITY
                                                                              I:     GENETIC INFORMATION
                          OTHER (Spec/Ev)

THE PARTICULARS ARE (If additional paper is needed, attach extra $I7eet{s)):
                                                                                                                               m        CONTINUING ACTION


     l was hired on or about August 18, 2003 as a
                                                  Secretary. My current position is Academic
     Advisor.
     On or about May 15, 2021 I was subjected to different terms and conditions of employment
     and discrimination because my race, age and disability that created a hostile work
     environment. I was denied ADA. in or around May 15. I requested a reasonable
     accommodation due to my disability. Respondent did not engage in the interactive
     and Tina Last Name Unavailable, Fort Wayne campus and Human Resources,
                                                                                        process
                                                                                  jenny Kissel
     contacted my doctor and requested prohibited medical information without my consent.
     Doctor has since retracted any documents sent to Ivy Tech after May 11, 2021 due to       My
     permissions dispute.
     Iasked Respondent what my doctor provided without talking to me and informed
     Respondent the form sent to my doctor was unethical. FMLA Coordinator Christine Butler
I want this charge filed with both the EEOC and the State or local Agency,                NOTARY    —
                                                                                                        When necessaa/ for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and wiIl cooperate fully with them In the processing of my charge in
         |



accordance With their procedures.
                                                                                          I swear or affirm that l have read the above charge and that it
Ideclare under penalty of perjury that the above is true and correct.                     is true to the best of my knowledge, information and belief.
                                                                                          SIGNATURE OF COMPLAINANT


         Digitally signed by Dion Boyd on 10-12-2021 11:48                                SUBSCRIBED AND SWORN To BEFORE ME THIS DATE
                               AM EDT                                                     (month. day year)


                                                                                                                            E'Xﬁ        ‘Bﬁi ”l
             USDC IN/ND case 1:22-cv-00331-HAB-SLC document 6-1 filed 09/09/22 page 2 of 9
     EEOC Form 5 (11109)


                           CHARGE OF DISCRIMINATION                                             Charge Presented To:                           Charge
                                                                                                                               $3239“)
           This form is affected by the Privacy Act of 1974. See enclosed
                                                                          Privacy Act
                  Statement and other information before completing this form.                      D FEPA
                                                                                                    [Xi   EEOC                 470-2021-03646
                                                  INDIANA CIVIL RIGHTS COMMISSION                                                               and EEOC
                                                                   State crime/Agency, lfany
      approved my intermittent FMLA after proper information was             then ultimately my
      full FMLA was approved on September 27th. Michael McNicholsprovided
                                                                     denied me ADA the second
      time as a cover up. I complained to him for weeks with no
      was told that there is no appeal.                         investigation to my claim, then I

          around June 2. I sent Human Resource Brad Last Name
      In or
                                                                     Unavailable, pictures of my
     disability fiare up as the reason for calling off. Ms. McNichols told me that I must
     time with, a doctors note, although other employees are not                          report sick
     an unplanned absence. in retaliation for me                    required to do so. I was issued
                                                    engaging in protected                                          activity.
     On or about September 27, 2021, Respondent
                                                  approved me intermittent
     am aware that other Academic Advisors are allowed to work from home. FMLA for 30 days. I
                                                                              I am the only African
     American in the department and l was not treated             until I requested a reasonable
                                                      differently
     accommodation. Avi Goitz, under the age of 40, non-African American was
     that me.                                                                    treated better

     I believe that I have been
                                 discriminated against because of my disability and in retaliation
     for engaging protected activity, in violation of Title I of the Americans with
     1990, as amended and in violation of Title VII of the Civil Rights Act of 1964-,Disabilities
                                                                                      as amended.
                                                                                                  Act of

     I believe I have been discriminated
                                          against because of my race-Black, in violation of Title VII
     of the Civil Rights Act of 1964, as amended.                                                              '




     I believe that I have been
                                discriminated against because of my age, in violation of the
     Discrimination in Employment Act.                                                       Age




I want this
             charge filed with both the EEOC and the State or local Agency.             NOTARY - [Mien necessary for State and Laca/
if any. I will advise the agencies ifl change my address or                                                                          Agency   Requirements
                                                             phone number
and l will cooperate fully with them in the processing of my
                                                              charge in
accordance with their procedures.
                                                                                      swear or affirm that l have read the above
                                                                                                                                 charge and that it
                                                                                        |

|   declare under penalty of perjury that the above is true and correct.            is true to the best of my knowledge, Information
                                                                                                                                     and belief.
                                                                                    SIGNATURE OF COMPLAINANT


     Digitally signed by Dion Boyd on 10-12-2021 11:48                              SUBSCRIBED AND SWORN T0 BEFORE ME THIS DATE
                           AM EDT                                                   (month, day, yea-n
      USDCwithIN/ND
 CP Enciosure          case
                EEOC Form     1:22-cv-00331-HAB-SLC
                          5 (11/09)                   document 6-1 filed 09/09/22 page 3 of 9
                                                                                                 i



 PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579,
                                                                        authority to
 request personal data and its uses are:
 1.   FORM NUMBER/TITLE/DATE. EEOC Form 5. Charge of Discrimination
                                                                    (11/09).
 2.   AUTHORITY. 42 U.S.C. ZOOOe-5(b), 29 U.S.C.211, 29 U.S.C. 626, 42 U.S.C.
                                                                              12117, 42 U.S.C.
 2000ff—6.

 3.    PRiNCIPAL PURPOSES. The purposes of a charge, taken on this form or
                                                                              otherwise
 reduced to writing (whether iater recorded on this form or not) are, as
 under the EEOC anti-discrimination statutes (EEOC statutes), to preserve
                                                                          applicable
                                                                             private suit
 rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
 filing or referral arrangements exist, to begin state or local proceedings.
 4.  ROUTINE USES. This form is used to provide facts that
                                                             may establish the
existence of matters covered by the EEOC statutes (and as applicable, other
                                                                                 federal,
state or local laws). information given will be used by staff to guide its mediation  and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other
state or local agencies as appropriate or necessary in carrying out EEOC's        federal,
A copy of this charge will ordinarily be sent to the respondent               functions.
                                                                 organization against
which the charge is made.

5.   WHETHER DISCLOSURE is MANDATORY; EFFECT OF NOT GIVING INFORMATION.
must be reduced to writing and should identify the charging and                  Charges
and the actions or policies complained of. Without a written
                                                                   responding  parties
                                                               charge, EEOC will
ordinarily not act on the complaint. Charges under Title Vil, the ADA or GINA must be
sworn to 'or affirmed (either by using this form or by
                                                       presenting a notarized statement
or unsworn declaration under penalty of perjury); Cha rges under the ADEA should
ordinarily be signed. Charges may be clarified or amplified later by amendment. lt is
not mandatory that this form be used to make a charge.

                NOTICE 0F RIGHT To REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some
filed at EEOC may also be first handled by a FEPA under                           charges
                                                              worksharing agreements.
You will be told which agenCy will handle your charge. When the FEPA is the first
                                                                                          to
handle the charge, it will notify you of its final resolution of the matter.
                                                                               Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final
                                                                       findings, you must
ask us in writing to do so                  of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the
                                                                      charge.
                        NOTICE OF NON~RETALIATION REQUiREMENTS

Please notify EEOC or the state or local agency where you filed
                                                                   your charge if
retaliation is taken against you or others who oppose discrimination or
cooperate in any investigation or lawsuit concerning this charge. Under Section
704(a) of Title Vll, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
207(f) of GINA, it is unlawful for an employerto discriminate against present or former
employees or job applicants, for an emp/oyment agencyto discriminate against
anyone, or for a union to discriminate against its members or membership applicants,
because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an
   USDC IN/NDproceeding,
investigation,  case 1:22-cv-00331-HAB-SLC
                           or hearing under thedocument  6-1 filed 09/09/22 page 4 of 9
                                                 laws. The Equal Pay Act has similar
provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
interference with anyone for exercising or enjoying, or aiding or
their exercise or enjoyment of, rights under the Act.             encouraging others in
                            02D09-2209-CT-000453                               Filed: 9/9/2022 4:59 PM
                                                                                                  Clerk
USDC IN/ND case 1:22-cv-00331-HAB-SLC
                               Allen Superiordocument
                                              Court 9 6-1 filed 09/09/22 page 5 of  9 County, Indiana
                                                                                Allen
                                                                                                                    DW
         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                    Indianapolis District Ofﬁce
                                                                                    101West Ohio St, Suite 1900
                                                                                           Indianapolis, 1N 46204
                                                                                                   (463) 999-1240
                                                                                          Website: www.cecc. gov


                    DETERMINATION AND NOTICE OF RIGHTS
                        (This Notice replaces EEOC FORMS 161 & 161-A)

                                        Issued On: 06/ 14/2022
 To: Dion Boyd
     4927 Salem Lane
     FT WAYNE, IN 46806

 Charge No: 470-2021-03 646
EEOC Representative and email:        Andrea Dayharsh
                                      Enforcement Supervisor
                                      andrea.dayharsh@eeoc. gov


                                DETERMINATION OF CHARGE
The EEOC issues the following determination: The EEOC will not
                                                                          proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does
                                                                                                not
certify that the respondent is in compliance with the statutes. The EEOC makes no
                                                                                      ﬁnding as to
the merits of any other issues that might be construed as
                                                          having been raised by this charge.
                              NOTICE OF YOUR RIGHT TO SUE
This is ofﬁcial notice ﬁom the EEOC of the dismissal of your
                                                                    charge and of your right to sue. If
you choose to ﬁle a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be ﬁled WITHIN 90 DAYS of
                                                                         your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) View this document. You
should keep a record of the date you received this notice. Your
                                                                     right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for
                                                                                       ﬁling a lawsuit
based on a claim under state law may be different.)

If you ﬁle a lawsuit based on this charge, please sign-in to the EEOC Public Portal and
                                                                                                  upload the
court complaint to charge 470—2021-03 646.

                                               On behalf of the Commission,

                                              Digitally Signed By:Michel]e Eisele
                                              06/ 14/2022

                                              Michelle Eisele
                                              District Director



                                                                                          EXHIBIT
USDC IN/ND case 1:22-cv-00331-HAB-SLC document 6-1 filed 09/09/22 page 6 of 9
 Cc:
Paul H Sinclair
Ice Miller LLP
paul.sinclair@icemﬂler.com

Tina Sullivan
IVY TECH COMMUNITY COLLEGE
tsullivan57@ivytcch.cdu

Cameron D Ritsema
Ice Miller LLP
cameron.ritsema@iccmillcmom



Please retain this notice for your records.
     Enclosure with EEOC Notice of Closure and Rights (01/22)
    USDC      IN/ND case 1:22-cv-00331-HAB-SLC document 6-1 filed 09/09/22 page 7 of 9


                              INFORMATION RELATED To BEING SUIT
                           UNDER THE LAWS ENFORCED BY THE EEOC
      (This information relates to ﬁling suit in Federal or State court under Federal law. If
                                                                                             you also
     plan to sue claiming violations ofState law, please be aware that time limits may be shorter and
                other provisions ofState law may be diﬂerent than those described
                                                                                    below.)
     IMPORTANT TIMEILIMITS — 90 DAYS TO FILE A LAWSUIT
     If you choose to ﬁle a lawsuit against the respondent(s) named in the charge of
                                                                                           discrimination,
     you must file a complaint in court within 90 days of the date you receive this Notice.
                                                                                                   Receipt
     generally means the date when you (or your representative) opened this email or mail. You should
     keep a record of the date you received this notice. Once this 90-day period has passed,
                                                                                                     your
     right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
     attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
     your receiving it (email or envelope).
    If your lawsuit includes a claim under the Equal Pay Act (EPA), you must ﬁle
                                                                                          your complaint
    in court Within 2 years (3 years for willful
                                                  violations) of the date you did not receive equal pay.
    This time limit for ﬁling an EPA lawsuit is separate from the
                                                                        90-day ﬁling period under Title
    VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
    Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
                                                                                     claim, your lawsuit
    must be ﬁled within 90 days of this Notice and. within the 2- or
                                                                         3-year EPA period.
    Your lawsuit may be ﬁled in U.S. District Court or a State court of
                                                                                  competent jurisdiction.
    Whether you ﬁle in Federal or State court is a matter for            to  decide after talking to your
                                                                    you
    attorney. You must ﬁle a "complaint" that contains a short statement of the facts of your case
    which shows that you are entitled to relief. Filing this Notice is not
                                                                           enough. For more information
    about ﬁling a lawsuit, go to
                                 https:l/Wwweeoc.gov/employees/lawsuit.cfn1.
    ATTORNEY REPRESENTATION
    For information about locating an attorney to represent you,
                                                                  go to:
    https://Www.eeoc.gov/emplovees/lawsuit.cfm.
'

    In very limited circumstances, a U.S. District Court
                                                         may appoint an attorney to represent individuals
    who demonstrate that they are financially unable to afford an
                                                                  attorney.
    How To REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
    There are two ways to request a charge ﬁle: 1) a FOIA
                                                           Request or 2) a Section 83 request. You may
    request your charge ﬁle under either or both procedures. EEOC can generally
                                                                                  respond to Section 83
    requests more promptly than FOIA requests.
    Since a lawsuit must be ﬁled within 90 days of this notice,
                                                                please submit your request for the charge
    ﬁle promptly to allow sufﬁcient time for EEOC to
                                                         respond and for your review. Submit a signed
    written request stating it is a “FOIA Request” or a “Section 83
                                                                      Request” for Charge Number 470-
    2021-03646 to the District Director at Michelle Eisele, 1010 West Ohio St Suite 1900

    ludianapolis, IN 46204.
    You can also make a F OIA request online at
                                                  https://eeoc.arkcase.com/foia/portal/login.
 Enclosure with EEOC Notice of Closure and Rights (01/22)
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 You may request the charge file up to 90 days after receiving this Notice of
                                                                              Right to Sue. After the
                                                        only if you have ﬁled a lawsuit in court and
 90 days have passed, you may request the charge ﬁle
 provide a copy of the court complaint to EEOC.
For more information on submitting FOIA Requests and Section 83
                                                                Requests, go to:
httns://www.eeoc.gov/eeoc/foia/indexcﬁn.

    NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008
                                                          (ADAAA)
The ADA was amended, effective January 1, 2009, to broaden the deﬁnitions of
                                                                                    disability to make
it easier for individuals to be covered under the ADA/ADAAA. A
                                                                      disability is still defined as (1)
a physical or mental impairment that
                                        substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as
                                                                                               having a
disability. However, these terms are redeﬁned, and it is easier to be covered under the new law.
If you plan to retain an attorney to assist you with your ADA claim, we recommend that
                                                                                         you share
this information with your attorney and suggest that he or she consult the amended
                                                                                   regulations and
appendix, and other ADA related publications, available at;
http://wmzveeoc.aov/laws/tvues/disabilitv regulationscfm.

“Actual” disability or a “record of” a disability
If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
or “record   of” a disability:
    f   The limitations from the impairment no longer must be severe or
                                                                        signiﬁcant for the
       impairment to be considered substantially limiting.
    x/ In addition to activities such as
                                         performing manual      tasks, walking, seeing, hearing,
         speaking, breathing, learning, thinking, concentrating, reading, bending, and
         communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
        include the operation of major bodily functions, such as: funCtions of the
                                                                                         immune
        system, special sense organs and skin; normal cell growth; and digestive,
                                                                                   genitourinary,
        bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular,
                                                                                       endocrine,
        hemic, lymphatic, musculoskeietal, and reproductive functions; or the operation of an
        individual organ within a body system.
   v’ Only one major life activity need be
                                           substantiain limited.
   V"
      Except for ordinary eyeglasses or contact lenses, the beneﬁcial effects of
                                                                                 “mitigating
        measures” (e.g., hearing aid, prosthesis, medication,
                                                              therapy, behavioral modiﬁcations)
        are not considered in determining if the impairment
                                                                substantially limits a major life
        activity.
   f    An impairment that is “episodic” (e.g., epilepsy, depression,
                                                                           multiple sclerosis) or “in
        remission” (e. g., cancer) is a disability if it would be
                                                                  substantially limiting when active.
   \/ An impairment
                    may be substantially limiting even though it lasts or is expected to last
        fewer than six months.
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 “Regarded as” coverage
 An individual can meet the deﬁnition of disability if an
                                                          employment action was taken because
 of an actual or perceived impairment (e. g., refusal to
                                                           hire, demotion, placement on involuntary
 leave, termination, exclusion for failure to meet a qualiﬁ
                                                            cation standard, harassment, or denial of
 any other term, condition, or privilege of employment).
     \/ “Regarded as”
                         coverage under the ADAAA no longer requires that an
                                                                                   impairment be
        substantially limiting, or that the employer perceives the impair      to be
                                                                          ment       substantially
        limiting.
    /   The employer has a defense against a
                                                “regarded as” claim only when the impairment at
        issue is objectively both transit
                                         ory (lasting or expected to last six months or less) and
        minor.
    -/ A person is not able to       a failure to accommodate claim
                               bring                                    if the individual   is covered
        only under the “regarded as” deﬁnition of “disability”.
Note: Although the amended ADA states that the
                                                      deﬁnition of disability "shall be construed
broadly” and “should not demand extensive analysis, ” some courts
                                                                         require speciﬁcity in the
complaint explaining how an impairment substantially limits 0 major
                                                                         life activity or what facts
indicate the challenged employment action was because
                                                            of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish
                                                                                     disability. For
moreinformation, consult the amended regulations and
                                                              appendix, as well as explanatory
publications, available at http:l/Www.eeoc.gov/laws/types/disability— regula
                                                                              tionscfm.
